                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
              v.                                    )      CASE NO. DNCW3:04CR190-02
                                                    )      (Financial Litigation Unit)
THOMAS L. JACOBS.                                   )

                                     WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and SUNTRUST BANK:

       A judgment was entered on July 6, 2006 in the United States District Court for the Western

District of North Carolina in favor of the United States of America and against the Defendant,

Thomas L. Jacobs, whose last known address is XXXXXXXXXXXXXX, Charlotte, North Carolina

28227, in the sum of $2,753,108.38. The balance on the account as of April 23, 2012 is

$2,717,646.66.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and SunTrust Bank is commanded to turn over property in which the Defendant, Thomas L.

Jacobs, Social Security Number XXX-XX-9035, has a substantial non-exempt interest, said property

being any and all funds held by Suntrust Bank in savings account number XXXXXXXXX3550,

which account is held in the name of Thomas L. Jacobs at the following address: SunTrust Bank,

Mail Code GA-ATL-5099, P.O. Box 4418, Atlanta, Georgia 30302-4418, ATTN: Legal Processing

Department.
                                               Signed: April 25, 2012
       SO ORDERED.




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